   Case 2:07-md-01873-KDE-MBN Document 25850 Filed 09/14/12 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
                             NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                             §              MDL NO. 1873
FORMALDEHYDE                                    §
PRODUCT LIABILITY LITIGATION                    §              SECTION “N-5”
                                                §              JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:                    §
                                                §
Civil Action No. 12-1209                        §
Kenneth Albus, et al. v.                        §
Gulf Stream Coach, Inc., et al.                 §

     PLAINTIFF’S, BRITTNEY DEWEY, NOTICE OF VOLUNTARY DISMISSAL
              WITHOUT PREJUDICE UNDER FRCP 41(a)(1)(A)(i)

      NOW INTO COURT, through undersigned counsel, come the following

Plaintiff herein, BRITTNEY DEWEY, who, pursuant to the provisions of Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby gives notice of her

voluntary dismissal, without prejudice, of her claims asserted against the Defendants

in the Complaint previously filed in these proceedings.

                                     Respectfully submitted,

                                     /s/ Robert C. Hilliard
                                     _____________________________
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   Case 2:07-md-01873-KDE-MBN Document 25850 Filed 09/14/12 Page 2 of 2




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                               CERTIFICATE OF SERVICE

        I hereby certify that on September 12, 2012, a true and correct copy of the
foregoing pleading was filed electronically using the CM/ECF system. Notice of this
filing will be sent to all known counsel by operation of the court’s electronic filing system.


                                           /s/ Robert C. Hilliard
                                           ____________________________
                                           ROBERT C. HILLIARD




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